
86 N.Y.2d 808 (1995)
In the Matter of Ronald Crumpley, Appellant,
v.
Renate Wack, as Director of the Kirby Forensic Psychiatric Center, et al., Respondents. (And Another Proceeding.)
Court of Appeals of the State of New York.
Submitted August 14, 1995.
Decided September 7, 1995.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as (1) reversed the order of Supreme Court dated April 27, 1994 denying respondents' motion to dismiss appellant's application for rehearing and review of Supreme Court's August 25, 1993 retention order, and (2) dismissed the application, dismissed upon the ground that that part of the order does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise denied.
